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. Cf........                      •..   6~~t1-~~;~~~..~~~~I~Jk·khsJ~.fu~~·~~····()·~·~k~. . . . ~ .~~-~·····~·
                                                     --~~. .~~. .~h.~w.J~r~~~~.~d~.~~L~~                                                                                                                                                                                                    ,

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                              ,.· w.Jub                             u).:J..tu .Po.lU '~~ ~                                                                                        u      (Jl.uJ'I J\.(r'"Tij\JI                              ~ ~
                              '~'"'~'''"'"''"'"'"""'«<~ '''''''"W<'~""'"'="'"""""»m'''>-9''""'""""""""'"'"'"'"--*~"'"""'~(il,:,,m""'~~"~"'"""'"'"'~''"""'"•""'"'-=.w-"""'""'"'~' "*'~""""'*'""'''''"''"'"""""""''"""'"-'''''"'"-""""""'"'"'""""""""''"'"""'"'"'''""''"'"'""''"""'"'"''~"''"'""'""'*'"""'''"""'"''~""~""=""''


             ·~· · · · ~~M o!J~. ~~l.~f!::.~.~·M·~ ::i~J-?::~:;'~~~~·~······
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                              .    1ft~.Z~I~ .. ~~.'Jt~~~··~~·~~.wM                                                                                                                                                        A        J.J1/1.q w.sz.J.J.".




II                            .,~J/~ A~Avl~~.... ~4.y.JOA~ .
                 ...          :~·4J~l/ o!!.~ (;;lh····~ ~ ?\\~
'   .                 Case 4:11-cv-00733-DPM Document 45 Filed 09/19/12 Page 2 of 5




         l :2.      t~,??Q~,~ t.<j..QAJ. eJ~, '~~~,

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    , , ,~,,,}?~,   ,,,,,y,,./;t~~,~~'"'''~''~''~'~''~~~'''''''''''''~"'
                       A.rx1 ,~,,-CA..) cn~,idt, L'1~,!Jld~ ,~



                     ~ L?~ wtVL 4lJ;. c;;J--I}vif~              o-vJ WM-   ~
                               w~ ~ ~ ·~ w~...vv1, ~ f:u,dl. ~ 1:e

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                    ' ~ 10-~ ~,,,,~~,~~~'~J ~,,.
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        :L/          'u)~ ~~ ,,,,,~,,~ ~ JVL~ 4d-~. J~"~''"~'''
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'   "                              Case 4:11-cv-00733-DPM Document 45 Filed 09/19/12 Page 3 of 5




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                                    <..tJ ~ ;(.(.4. w~                                            w.u.              w~ttJ.z.o                               )\.a-t 'lO tiu                     ~


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                "~"""''"""''~,~,, "''"'"":W'"''""""""''"''"=.- ""'"''""'""'"""""'""""''~""'c'""'"""""~"=""~'"~%%i"WW-.=-••>~'''~''"""'~--''"""''"='""-Y»~~'-'"''"<>'l '"'h<>O')'«>W"c>'>~'""'"''"'="~=::::cc'«''~p.-mJ\)l""'~"ih--"""''="'""""'""'"""'""'"'"'"" cw<>W,hh1mllm"<'""~ 1 "" •   ,,, ..., _ , , _




             ..............."'·.,.· ~· · 4cf J;,v,                   ~ ~.~~~. 't6                                                   <UV\                ~ ~~J.~.-L#.........
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                                                 7bJll~.
               Case 4:11-cv-00733-DPM Document 45 Filed 09/19/12 Page 4 of 5




                                          VERIFICATION


I,   J.!
     oseg        lho;:t!q  state under penalty of the pains of perjury, that I have read the petition,
and attest to the fact contained therein.


                                                                        /~~
                                                                        HOSEA TROMP ON




STATE OF ARKANSAS                             }

COUNTY OF JEFFERSON                           }



SUBSCRIBED AND SWORN BEFORE ME, a notary public, on this __ day of September,
2012 .


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                                                                            DONNA L DORMAN
                                                                                MY COMMISSION# 12373329
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     '-       NOTARY PUBLIC                           t?·. '-·iifk"A;."i~·f          Jefferson Coun
           q· - I 9 - r:)_o I d-..                           ''''•"''




My Commission Expire$:
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                              CERTIFICATE OF SERVICE

       I, Hosea Thompson, certify that a copy of the foregoing Interrogatories is hereby
mailed through regular mail, this 19th day of September 2012, addressed to Arthur
Carson.
       I swear the foregoing statements are true and correct.




      ~~~'u-v--
      Hosea Thompson      1

       3219 Nebraska
       Dallas, TX 75216
